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Docusign Envelope ID: EA27D434-A78D-43BC-BB4F-1 6CE27631D4A

United States Bankruptcy Court for the:

Southern District of _ Texas
(State)

Case number (if known): Chapter 11

|
Official Form 205

United Siates Courts
Southern District of Texas

FILED

AUG 27 2024

Nathan Ochsner, Clerk of Court

Cl Check if this is an
amended filing

Involuntary Petition Against a Non-individual 4218

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if

Known). .

idemtify the Chapter of the Bankruptcy Code Under Which Petition Is Filed

1. Chapter of the Check one:
Bankruptcy Code
{2 Chapter 7

chapter 11

Identify the Debtor

2.. Debtor’s name Refreshing USA, LLC

3. Other names you know

the debtor has used in

the last 8 years

Include any assumed
names, trade names, or
doing business as names.

4. Debtor's federal
Employer identification _ (3 Unknown
Number (EIN)

EIN

: Principal place of business
5. Debtor's address pare

2732 Grand Ave Ste 122

Hailing address, if different

Number Street

P.O. Box

Number Street

Everett WA 98201
City © State ZIP Code
Snohomish

County

City Siate ~ ZiP Code

Location of principal assets, if different from
principal place of business

Multiple locations in Texas

Number Street

City State ZIP Code

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Docusign Envelope ID: EA27D434-A78D-43BC-BB4F-16CE27631D4A

Debtor Refreshing USA, LLC

Case number (known),

Name

6. Debtor’s website (URL)

7. Type of debtor

Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
(J Partnership (excluding LLP) ‘
CQ) Other type of debtor. Specify:

8. Type of debtor’s
business

Check one:

&) Health Care Business (as defined in 11 U.S.C. § 104(27A))
Q] Single Asset Real Estate (as defined in 11 U.S.C. § 101(61B))
C2 Railroad (as defined in 11 U.S.C. § 101(44))

CJ Stockbroker (as defined in 11 U.S.C. § 101(53A))

C3 Commodity Broker (as defined in 11 U.S.C. § 101(6))

C] Clearing Bank {as defined in 11 U.S.C. § 781(3))

a None of the types of business listed.

Unknown type of business.

9. To the best of your OQ No
knowledge, are an . .
bankruptey onwos. (A Yes. Debtor _ Creative Technologies, LLC Relationship
pending by or against emt SOUtherN 08/27/2024 4
any partner or affiliate District _“ Date filed aMTDD TW Case number, if known,
of this debtor?
Debtor Water Station Management LLC Relationship
pistrict_ Southern Date fled __ 98/27/2024 Case number, if known
MM /DDJYYYY
Report About the Case
10. Venue Check one:

2 over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
business, or principal assets in this district longer than in any other district.

{2 A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.

11. Allegations

Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

At feast one box must be checked:

&y The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
fide dispute as to liability or amount.

CJ Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
agent appointed or authorized to take charge of less than substantially ail of the property of the
debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12, Has there been a
transfer of any claim
against the debtor by or
to any petitioner?

PY No

(2 Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
Rule 71003(a).

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Refreshing USA, LLC

Name

Debtor Case number Gtinown)

43. Each petitioner’s claim Name of petitioner . Nature of petitioner's claim Amount of the claim
above the value of
any lien

Donald E. and Bonnie L. Gray Revocable Living Trust | Business Loan: Principle and Interest Accrued $ 854,300.00

Tyler Heilman Wages $ 21,432.00

Annamaria Briggs Wages $ 3,417.00
Total of petitioners’ claims $879,149.00

If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
the top of each sheet. Foliowing the format of this form, set out the information required in Parts 3 and 4 of the form for each
additional petitioning creditor, the petitioner's claim, the petitioner’s representative, and the petitioner's attorney. Include the
statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner's (or representative’s) signature,
along with the signature of the petitioner's attorney.

Request for Relief

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. Ifa
petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1070(b). If any petitioner is a
foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

{| have examined the information in this document and have a reasonable belief that the information is true and correct.

Petitioners or Petitioners’ Representative S Attorneys

Name and mailing address of petitioner

. Ericka F. Johnson
Printed name

Bayard, P.A.

Firm name, if any

Donald E. and Bonnie L. Gray Revocable Living Trust y
Name

23233 N. Pima Rd., Ste. 113-367

i declare under penalty of perjury that the foregaing is true and correct.

Executed on 08/27/2024

Signed by (DD IYYYY

J Dow GY ay

or 87087 IBB9EIC402... a . . 4
Signature oF Betoney or representative, including representative's title

Number Street
Scottsdale . AZ 85255 600 North King Street, Suite 400
City State ZIP Code Number Street
Wilmington DE 19801
Name and mailing address of petitioner's representative, if any City State ZIP Code
Don Gray Contact phone 302-429-4275 emai ejohnson@bayardlaw.com
Name
23233 N. Pima Rd., Ste. 113-367 5024
Bar number
Number Street
Scoitsdale AZ 85255 State Delaware
City State ZIP Code

08/27/2024

Date signed
MM /DD /YYYY

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Docusign Envelope ID: EA27D434-A78D-43BC-BB4F-16CE27631D4A

Debtor Refreshing USA, LLC

Case number {if known),

Name

Name and mailing address of petitioner

Tyler-Heilman
Name Printed name
2603 Burley Drive Fim name, F any
Number Street
Evereit WA 98208
City State ZiP Code ‘ Number Street
Name and mailing address of petitioner's representative, if any City State ZIP Code
Contact phone Email
Name
Bar number
Number Street
State
City State ZIP Code
| declare under penalty of perjury that the foregoing is true and correct. *
Executed on 08/27/2024 - &
Signed vii ABD IYYYY , ° Signature of attorney
fp Date signed

4EFE4I6... ——
Signature of petitioner or representative, including representative's title MM /DD /1YYYY

Name and mailing address of petitioner

Annamarie Briggs

Name Printed name

8100 242nd St. SW Unit A

Firm name, if any

Number Street

Edmonds WA 98026

City State ZIP Code Number Street

Name and mailing address of petitioner's representative, if any City State ZIP Code
Contact phone _ Email

Name
Bar number

Number Street
State

City State ZIP Code

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 08/27/2024 x

MM /DD /YYYY Signature of attorney

Date signed

Signature of petitioner or representative, including representative's title MM /DD /YYYY

Official Form 205 involuntary Petition Against a Non-Individual page 4

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Debtor Refreshing USA, LLC

Names

Case number UF dnosn),

Name and mailing address. of petitioner

Tyler Heilman
Name Printed name
2603 Burley Drive Firm name, if any
Number Street
Everett WA 98208
Gity State ZIP Code Number Stree!
i Code
Name and mailing address of petitiones's representative, if any Clty State al Code
Contact phone Email
Name
Bar number
Number Street
State
City State ZIP Cade
{ declare under penalty of perjury thal the foregoing Is true and correct.
Executed on 08/27/2024 x
Mi /DD /YYYY Signature of attorney
Date signed
Signature of petitioner or representative, including representative's title MM /DD IYYYY
Name and malling address of petitioner
Annamarie Briggs .
Name Printed name
8100 242nd St. SW Unit A Fim name, Fany
Number Street
Edmonds WA 98026
City State ZiP Code Number Street
Name and maliing address of petitioner's representative, If any Gily Stale alP Code
Contact phone Email
Name
Bar number
Number Street
State
Cily State ZIP Code
| declare under penalty of perjury that the foregoing is true and correct.
don 08/27/2024 Y
MM 7 DD / wy Signature of altorney
x UMMaInG ;
Ul fy Hed Date signed
Signature of patitioner or representative, iIngluding renreseve ie MM /DD /YYYY

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Involuntary Petition Against a Non-individual

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

In re: : Chapter 11
REFRESHING USA, LLC Case No.:

Alleged Debtor.

SUMMONS TO DEBTOR IN INVOLUNTARY CASE

To the above-named debtor:

A petition under title 11, United States Code was filed against you on August 27, 2024 in this
Bankruptcy Court, requesting an order for relief under Chapter 11 of the Bankruptcy Code (title
11 of the United States Code.)

YOU ARE SUMMONED and required to submit to the Clerk of the Bankruptcy Court, a motion
or answer to the petition within 21 days after the service of this summons. A copy of the petition
is attached.

Address of Clerk:
Bob Casey United States Courthouse
515 Rusk Avenue
Houston, TX 77002

At the same time, you must also serve a copy of the motion or answer upon the petitioner’s
attomey.

Name and Address of Petitioners’ Attormeys:

Donaid E. and Bonnie L. Gray Revocable Living Trust

Ericka F. Johnson (Del. Bar No. 5024)

Steven D. Adler (Del. Bar No. 6257)

Bayard, P.A.

600 North King Street, Suite 400

Wilmington, DE 19801

Telephone: (302) 655-5000

Email: ejohnson@bayardlaw.com
sadler@bayardlaw.com

Tyler Heilman
2603 Burley Drive
Everett, WA 98208

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Annamaria Briggs
8100 2424 St. SW Unit A
Edmonds, WA 98206

If you make a motion, your time to answer is governed by Fed. R. Bankr. P..1011(c).

If you fail to respond to this summons, the order for relief will be entered.

Clerk of the Bankruptcy Court _

Date: By: (Deputy Clerk)

